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                           Receipts and Disbursements Ledger
                                                    Printed at 12:28 PM, Apr 04, 2022
                                                                                               EXHIBIT 3
 Buyer/Borrower:      Alliance Farm and Ranch LLC
           Seller:    Erik C. Ostrander and Darla Ostrander
          Lender:     Eric C. Ostrander and Darla R. Ostrander
    Closing Date:     4/1/2022                                                           Open Date:   01/20/2022
    File Number:      2200122TW
Property Address:     5450 Honea Egypt Road, Montgomery TX 77316
          Closer:     DO1 - Danell Osborn                Escrow Assistant:           Danell Osborn
   Primary Bank:      Woodlands First Financial Escrow Acct

Woodlands First Financial Escrow Acct
                                                                  Receipts
Trans ID:      Payor              Description:                               Type of Funds Deposit Date        Amount

2200122TW-1    Alliance Energy Partners LLC
                                    Earnest Money                            Check             01/24/2022      30,000.00          C

                                  Total                                                                       30,000.00

2200122TW-2    Alliance Energy Partners LLC
                                    Option Fee                               Check             01/24/2022          5,000.00       C

                                  Total                                                                        5,000.00

2200122TW-3    Alliance Farm and Ranch LLC
                                   Funds from Buyer                          Wire              04/01/2022     960,515.25

                                  Total                                                                      960,515.25
                                  Total Receipts                                                            995,515.25

                                                              Disbursements
Check #:       Payee              Description:                               Type of Funds   Check Date        Amount
               Erik C. Ostrander and Darla Ostrander

                       603         Proceeds of Sale                          Check             Not Issued     630,232.47

                                  Total                                                                      630,232.47
               Holly Rosser

                                   Listing Agent Commission                  Check             Not Issued     174,768.13

                                  Total                                                                      174,768.13
               Jeana Hurley

                                   Selling Agent Commission                  Check             Not Issued     139,290.38

                                  Total                                                                      139,290.38




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  File Number: 2200122TW
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Woodlands First Financial Escrow Acct
                                                                Disbursements
Check #:       Payee                Description:                               Type of Funds   Check Date       Amount
2475           University Title Company

                       1199         Title Insurance to Underwriter             Check             04/04/2022     (3,485.04)

                       1206         eRecord Fee                                Check             04/04/2022          8.52

                       1205         Courier/Messenger Fee                      Check             04/04/2022         36.00

                       1201         Recording Fees                             Check             04/04/2022         76.00

                       1111         Escrow fee                                 Check             04/04/2022        900.00

                       1113         T1R Survey Amendment                       Check             04/04/2022      1,101.60

                       1108         Title insurance                            Check             04/04/2022     22,132.00

                                    Total                                                                     20,769.08
XFer           Transfer to File GTR22Q2TWFF

                       1112         State of Texas Policy Guaranty Fee.        Transfer          04/04/2022          4.00       C

                                    Total                                                                            4.00
2469           Precision Surveyors/Accounts Receivale D

                       1303         Survey                                     Check             04/04/2022      2,381.50

                                    Total                                                                       2,381.50
2470           TDHCA Manufactured Housing Division

                       1301         TDHCA - Statement of Ownership & Locatio   Check             04/04/2022         55.00

                                    Total                                                                          55.00
2471           Superior Notary Services

                       1302         Mobile Notary Fee                          Check             04/04/2022        125.00

                                    Total                                                                         125.00
2472           Beard & Lane, P.C.

                       1105         Document preparation                       Check             04/04/2022        350.00

                                    Total                                                                         350.00
2473           Re/Max Integrity

                                    Less Commission paid to Holly Rosser       Check             04/04/2022   (174,768.13)

                       701          Commission Paid at Settlement              Check             04/04/2022    184,019.08

                                    Total                                                                       9,250.95
XFer           Transfer to File RTC22TWFF

                       1204         Tax certificates                           Transfer          04/04/2022         75.00       C

                                    Total                                                                          75.00




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Woodlands First Financial Escrow Acct
                                                              Disbursements
Check #:       Payee              Description:                              Type of Funds   Check Date       Amount
2474           Connect Realty

                                   less Selling Agent - Jeana Hurley         Check            04/04/2022   (139,290.38)

                       702         Commission Paid at Settlement             Check            04/04/2022    154,019.08

                                  Total                                                                     14,728.70
XFer           Transfer to File NITIC22TWFF

                       1108        Title Insurance                           Transfer         04/04/2022      3,485.04       C

                                  Total                                                                      3,485.04
                                  Total Disbursements                                                      995,515.25
                                                     Scheduled Disbursements:                              995,515.25
                                                     Actual Disbursements:                                  51,224.27
                                                     Pre-Disbursements Balance:                                  0.00
                                                     Account Balance:                                      944,290.98


                                                                            Approved By:




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